              Case 3:10-cv-03123-RTD   Document 7   Filed 01/05/11   Page 1 of 1 PageID #: 81



                                IN THE UNITED STATES DISTRICT COURT
                                    WESTERN DISTRICT OF ARKANSAS
                                          HARRISON DIVISION


                DAVID STEBBINS                                                   PLAINTIFF

                VS.                    CASE NOS. 10-3086, 10-3123

                WAL-MART STORES, INC.                                            DEFENDANT


                                               O R D E R

                      Plaintiff initiated two separate cases against Defendant,

                however, it appears to the Court that these matters involve

                common questions of fact and arise out of the same series of

                occurrences or transactions.        Accordingly, the Court finds the

                matters should be consolidated for all future purposes,

                including trial.       All future pleadings shall be filed under

                one case number, Case No. 10-3086, and Case No. 10-3123 is

                hereby DISMISSED.

                      IT IS SO ORDERED this 5th day of January, 2011.



                                                    /s/ Robert T. Dawson
                                                    Honorable Robert T. Dawson
                                                    United States District Judge




AO72A
(Rev. 8/82)
